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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


UNITED STATES OF AMERICA

vs.                                                  CASE NO. 8:05-CR-26-T-17-TBM


EUSTAQUIO YESQUEN AGUIRRE and
SILVIO VENTE
___________________________________ /
                                                ORDER
        This cause is before this Court on the defendant Eustaquio Yesquen Aguirre’s Motion to
Dismiss Indictment for Failure to Determine Nationality of Vessel as Required by 46 U.S.C.A.
§ 1903, and for Failure to Notify Defendant of his Right to Contcat the Colombian Embassy pursuant to
the Vienna Convention on Consular Relations 21 U.S.T. 77 (Docket No. 51), as adopted by defendant
Silvio Vente, and response thereto (Docket No. 62). The Court having reviewed the motion and the
response find the response persuasive and it is adopted by reference herein. Accordingly, it is


        ORDERED that the defendants’ Motion to Dismiss Indictment for Failure to Determine
Nationality of Vessel as Required by 46 U.S.C.A. § 1903, and for Failure to Notify Defendant of his
Right to Contcat the Colombian Embassy pursuant to the Vienna Convention on Consular Relations 21
U.S.T. 77 (Docket No. 51) be denied.


        DONE and ORDERED in Chambers, in Tampa, Florida, this 29th day of April, 2005.




Copies to: All parties and counsel of record
